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                 Presentment Date and Time: April 13, 2017 at 12:00 Noon (prevailing Eastern Time)
                       Deadline for Objections: April 13, 2017 at 9:00 a.m. (prevailing Eastern Time)

 KRAMER LEVIN NAFTALIS & FRANKEL LLP
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 Counsel for Post-Effective Date SVCMC

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 --------------------------------------------------------- X
 In re:                                                    :        Chapter 11
                                                           :
 SAINT VINCENTS CATHOLIC MEDICAL                           :        Case No. 10-11963 (CGM)
 CENTERS OF NEW YORK, et al.,                              :
                                                           :
                           Debtors.                        :        Jointly Administered
 --------------------------------------------------------- X

                NOTICE OF PRESENTMENT OF STIPULATION AND ORDER

                  PLEASE TAKE NOTICE that Saint Vincents Catholic Medical Centers of New

 York (“SVCMC”) and certain of its affiliates, as Chapter 11 debtors and debtors in possession

 (each a “Debtor” or the “Debtors”)1 in the above-referenced Chapter 11 cases (the “Chapter 11

 Cases”), will present to the Honorable Cecelia G. Morris, Chief United States Bankruptcy Judge,

 for signature on April 13, 2017 at 12:00 Noon (prevailing Eastern Time) the Stipulation and

 Order annexed hereto as Exhibit A.




 1
   In addition to SVCMC, the Debtors are as follows: (i) 555 6th Avenue Apartment Operating Corporation; (ii)
 Bishop Francis J. Mugavero Center for Geriatric Care, Inc.; (iii) Chait Housing Development Corporation; (iv) Fort
 Place Housing Corporation; (v) Pax Christi Hospice, Inc.; (vi) Sisters of Charity Health Care System Nursing Home,
 Inc. d/b/a St. Elizabeth Ann’s Health Care & Rehabilitation Center; (vii) St. Jerome’s Health Services Corporation
 d/b/a Holy Family Home; and (viii) SVCMC Professional Registry, Inc. There are certain affiliates of SVCMC who
 are not Debtors.
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                PLEASE TAKE FURTHER NOTICE that objections, if any, to the proposed

 order must be made in writing and received in the Bankruptcy Judge’s chambers and by the

 undersigned not later than 9:00 a.m. (prevailing Eastern Time) on April 13, 2017. Unless

 objections are received by that time, the order may be signed.

 Dated: New York, New York
        April 3, 2017


                                              KRAMER LEVIN NAFTALIS & FRANKEL LLP


                                              /s/ P. Bradley O’Neill
                                              Adam C. Rogoff
                                              P. Bradley O’Neill
                                              Anupama Yerramalli
                                              1177 Avenue of the Americas
                                              New York, New York 10036
                                              Telephone: (212) 715-9100

                                              Counsel for Post-Effective Date SVCMC



 To:    Parties listed on the Special Service as those terms are defined in the Final Case
        Management Order
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                                       EXHIBIT A

                          (Susan MacBride and Kenneth MacBride)
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                   6.    The Court shall retain jurisdiction to resolve all matters relating to

   the implementation of this Stipulation and Order.

   HOLIHAN & ASSOCIATES, P.C.                      KRAMER LEVIN NAFTALIS &
                                                   FRANKEL LLP




   By:
   Steven Holihan, Esq.       •                    P. Bradley O'Neill, Esq.
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   Attorney for Claimants                          Attorneys for SVCMC

   COOLEY LLP                                      AKIN GUMP STRAUSS HAUER & FELD
                                                   LLP

   By: /s/ Richard S. Kanowitz (w/ permission)     Bv: /s/ Sarah Link Schultz (w/ permission)
   Richard S. Kanowitz, Esq.                       Sarah Link Schultz (admittedpro hac vice)
   1114 Avenue of the Americas                     One Bryant Park
   New York, New York 10036                        New York, New York, 10036

   Attorneys for the MedMal Trust Monitor          Attorneys for the Liquidating Trustee




   Dated: New York, New York
                      , 2016

   SO ORDERED:


   THE HONORABLE CECELIA G. MORRIS
   CHIEF UNITED STATES BANKRUPTCY JUDGE




   KL2 2965026.1
